                       IN THE UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE:

RICHARD MCKAY OSBORNE, JR.                            CASE NO: 17-14920 aih

DANIEL M. MCDERMOTT                                           CHAPTER 7
UNITED STATES TRUSTEE
                                                              ADVERSARY PROCEEDING NO.
                Plaintiff                                     18-01124 aih

         Vs

RICHARD MCKAY OSBORNE, JR.
      &
TRICIA A. OSBORNE

                Defendants

  DEBTOR’S RESPONSE TO U.S. TRUSTEE’S RESPONSE TO DEBTOR’S MOTION
                     FOR SUMMARY JUDGMENT

         Now come Debtors, Richard M. Osborne, Jr and Tricia Osborne, by and through

undersigned counsel and respond to the US Trustee’s Response to Their Motion for Summary

Judgment and to request that this Court grant Summary Judgment in favor of Debtors in the above

captioned matter.

         For cause Debtor’s State that the Response of the United State Trustee does not reflect the

original Complaint filed by the U.S. Trustee wherein it requested a denial of Debtor’s discharge

for allegedly fraudulently failing to disclose the sale of a ‘gold blob’. In its response the U.S.

Trustee creates a completely new and separate cause of action that is not the subject of its

Complaint to Revoke Discharge. It does not address the matter of the Complaint which is limited

to the alleged fraudulent failure to disclose the ownership of the ‘gold blob’ and its transfer. The

Debtor’s Motion for Summary Judgment addresses the allegation that the Debtor’s ‘knowingly



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and fraudulently’ omitted a transfer of an asset owned by them. The proof that the Debtor’s never

believed that hey owned the asset and had a right to claim it was demonstrated as such that

reasonable minds can only come to the conclusion that they did not commit a act that would

warrant the revocation of their discharge. Therefore, reasonable minds can only conclude that they

did not violate the Bankruptcy Code and that their discharge should remain in effect.

       The attempt of the U. S. Trustee to create a cause of action in its Response to a Motion for

Summary Judgment on its own Complaint can only be determined to be over-reaching and not

properly before this Court. Had the U.S. Trustee wished to bring the matter raised in its Response

in this Court it had ample opportunity to do in its Complaint, which was filed on the last day upon

which to do so. Therefore, the Response does not address the Debtor’s Motion for Summary

Judgment but instead attempts to bring an issue before this Court that was not plead in the

Complaint and should be set aside by this Court as unresponsive.

       Wherefore, Debtors renew their Motion for Summary Judgment on the issue that is

properly before this Court and that the Complaint to revoke their discharge be denied.

                                                     Respectfully submitted,

                                                     _/s/ Heather L. Moseman____________
                                                     Heather L. Moseman, Esq. (0076457)
                                                     MOSEMAN LAW OFFICE, LLC
                                                     Attorney for Debtors
                                                     8500 Station Street, Suite 210
                                                     Mentor, Ohio 44060
                                                     Telephone: 440-255-0832
                                                     heather@mosemanlaw.com

                                 CERTIFICATE OF SERVICE

      I certify that on July 23, 2019 a true and correct copy of the DEBTOR’S RESPONSE TO U.S.
TRUSTEE’S RESPONSE TO DEBTOR’S MOTION FOR SUMMARY JUDGMENT was served:

Via the court's Electronic Case filing System on these entities and individuals who are listed on
the court's Electronic Mail Notice List:

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       Scott R. Bellhorn, Office of US Trustee at scott.r.bellhorn@usdoj.gov

And by regular U.S. Mail, postage prepaid, on:

       Richard M. and Tricia A Osborne, Jr. at 9050 Jackson Street, Mentor, OH 44060

                                                          /s/ Heather L. Moseman
                                                          Heather L. Moseman (0076457)
                                                          MOSEMAN LAW OFFICE, LLC




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